                   Case 07-10416-BLS                       Doc 4741-3                  Filed 01/30/08   Page 1 of 2




                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE


In re

NEW CENTURY TRS HOLDINGS, INC.,                                            Chapter 11
et al.,                                                                    Case No. 07-10416-KJC

                                   Debtor.


                               ORDER TERMINATING AUTOMATIC STAY
                            UNDER SECTION 362 OF THE BANKRUPTCY CODE
                                      (relates to Docket No. ____)

           UPON CONSIDERATION of the Motion for Relief from Automatic Stay Under Section

362 of the Bankruptcy Code (the “Motion”) filed by Deutsche Bank Trust Company Americas,

as Trustee and Custodian for HSBC Bank USA, NA ACE 2006-NC1 (“Movant”), and any

response thereto; the Court having determined that (A) the Court has jurisdiction over the

Motion pursuant to 28 U.S.C. §§ 157 and 1334; (B) this is a core proceeding pursuant to 28

U.S.C. § 157(b)(2); (C) venue is proper pursuant to 28 U.S.C. § 1409(a); and (D) service to the

limited parties stated on the Certificate of Service is adequate under the circumstances; and the

Court having further determined that cause exists to grant Movant relief from the automatic stay

with respect to Movant’s exercise of any rights and remedies against each parcel of real property

listed on Exhibit A hereof (each a “Property,” and collectively, the “Properties”) under

applicable non-bankruptcy law; it is HEREBY ORDERED as follows:

           1.          The Motion is hereby GRANTED. All capitalized terms not otherwise defined

herein shall have the respective meanings set forth in the Motion.

           2.          To the extent that the automatic stay is applicable, Movant is hereby granted relief

from the automatic stay, and the automatic stay is terminated, pursuant to 11 U.S.C. § 362(d),


Movant: Deutsche Bank Trust Company Americas, as Trustee and Custodian for HSBC Bank
   USA, NA ACE 2006-NC1
D&G Reference: 212145
             Case 07-10416-BLS         Doc 4741-3      Filed 01/30/08     Page 2 of 2




with respect to Movant’s interest in the Properties. Movant is hereby permitted to exercise its

rights under applicable non-bankruptcy law against each of the Properties, including but not

limited to foreclosure of any Mortgage relating to such Properties.

        3.      Nothing in this order (i) shall constitute a determination that the Debtors hold any

interest in the Property or (ii) shall estop the Debtors from denying that they hold any interest in

the Property.

        4.      This Order is immediately effective and is not stayed by operation of law,

notwithstanding the stay provisions of Fed. R. Bankr. P. 4001(a)(3).



Date:
        Wilmington, Delaware                  HONORABLE KEVIN J. CAREY
                                              UNITED STATES BANKRUPTCY JUDGE




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